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     MICHAEL WILLIAMS
6
     BRENT DELVALEN BLAKE
7
8
                      IN THE UNITED STATES DISTRICT COURT
9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,            ) Case Nos. 2:03-cr-00371 MCE EFB
12                                        )
                 Respondent-Plaintiff,    ) PROPOSED ORDER
13                                        )
           v.                             )
14                                        )
     MICHAEL WILLIAMS and                 )
15   BRENT DELVALEN BLAKE,                )
                                          )
16               Movants-Defendants.      )
                                          )
17
18         For good cause shown, Defendants-Movants are granted an extension to and
19
     including November 18, 2016, to file their replies to the government’s opposition.
20
           IT IS SO ORDERED.
21
22   DATED: November 21, 2016
23
24                                         UNITED STATES MAGISTRATE JUDGE
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27
28
